266 F.2d 550
    ENG WEE LEM and Eng Wee Man, Infants by Eng Set Kon, their Father and Next-Friend, Plaintiffs-Appellants,v.John Foster DULLES, Secretary of State of the United States, Defendant-Appellee.
    No. 257.
    Docket 25220.
    United States Court of Appeals Second Circuit.
    Argued April 16, 1959.
    Decided May 1, 1959.
    
      Samuel Bernstein, New York City (Bolnick &amp; Chambers, New York City, on the brief), for plaintiffs-appellants.
      John S. Clark, Asst. U. S. Atty., Southern District of New York, New York City (Arthur H. Christy, U. S. Atty., Southern District of New York, New York City, on the brief), for defendant-appellee.
      Before CLARK, Chief Judge, and SWAN and MOORE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Plaintiffs appeal from a judgment dismissing their complaint in an action for a declaratory judgment brought for the purpose of declaring them to be nationals and citizens of the United States. They have alleged that they are the sons of Eng Set Kon, purportedly a United States citizen. The trial court received the testimony of plaintiffs, the alleged father and the alleged mother and concluded that they had testified falsely in many material respects. In addition the court found that the conduct of the alleged father and mother had not been demonstrative of a parental relationship to either plaintiff. The court's findings and conclusions are amply supported by the evidence.
    
    
      2
      The judgment is affirmed.
    
    